                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                           1:20 CV 168 MR WCM

APRIL LEDFORD                                        )
                                                     )     CONSENT
              Plaintiff,                             )     PROTECTIVE ORDER
                                                     )     FOR SBI FILE
V.                                                   )
                                                     )
BRYSON CITY POLICE DEPARTMENT;                       )
CHRIS DUDLEY;                                        )
TOWN OF BRYSON CITY;                                 )
                                                     )
           Defendants.                               )
_________________________________ _____              )

      This matter is before the Court on Defendants’ Motion for Entry Consent

Protective Order for SBI File (Doc. 66), to which Plaintiff consents. The motion is

granted and the parties’ proposed Order is accepted, except as amended where

indicated.

                                         ***

      Pro Se Plaintiff April Ledford, Defendants Bryson City Police Department,

Chris Dudley, and Town of Bryson City (hereafter "Defendants"), by and through

their undersigned counsel, and the North Carolina State Bureau of Investigation

(hereafter "SBI"), by and through its undersigned counsel, stipulate to the entry of

this Consent Protective Order allowing release of SBI Case No. 2017-01907

(hereafter "the File") to the Pro Se Plaintiff and counsel for the Defendants.




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         Pro Se Plaintiff, counsel for Defendants, and counsel for the SBI further

stipulate and agree to the following statements in accordance with this Court’s entry

of the Consent Protective Order:

         1.    The File pertains to the subject matter involved in the case before this

Court.

         2.    After reviewing the File, counsel for the SBI has no objection to

providing it to the parties herein for the following reasons:

               A.    no policy reason exists to deny the parties' request;

               B.    release of the File does not prejudice the SBI;

               C.    no identities of persons contained in the File need to be protected;

               D.    the criminal investigation which was the subject of the File has

                     concluded; and

               E     release of the File to the parties herein in no way prejudices the

                     interests of the State of North Carolina.

         3.    Except as may be otherwise provided by further order of this Court,

documents contained within the File shall be used exclusively for the purpose of

prosecuting or defending this action and shall only be disclosed to the persons

identified in Paragraphs 4 and 5 below. To the extent any party seeks leave to file

information with the Court under seal, such request shall be made in conformity with

the Local Rules of this district, including Local Civil Rule 6.1.



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      4.      Access to and use of the documents contained within the File shall be

limited to:

              A.    the Court;

              B.    the parties, the parties' potential witnesses, attorneys of record

                    for the parties, any associated counsel, and any employees or

                    agents of such attorneys and counsel;

              C.    court-appointed mediators;

              D.    consultants, technical and expert witnesses involved in the

                    preparation of this action;

              E.    court reporters, their transcribers, assistants, and employees;

              F.    any potential or actual deposition or trial witness to the extent

                    that it is necessary to tender to such witness a document from the

                    File as an exhibit in order to elicit testimony relevant to the

                    matters at issue in this case; and

              G.    the jury.

      5.      Pro Se Plaintiff and counsel for the Defendants may make copies of the

File for the Plaintiff's or Defendants' experts upon receiving from these experts a

written agreement that they will be bound by the terms of this Protective Order. The

requirement of obtaining such a written agreement shall be satisfied by having each

of the Pro Se Plaintiff's or Defendants' experts read, acknowledge, and agree in



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writing to be bound by this Protective Order. All such written acknowledgements

shall be maintained by Pro Se Plaintiff or counsel for the Defendants. By signing the

declaration agreeing to be bound by this Protective Order, each of the Pro Se

Plaintiff's or Defendants' experts submit himself or herself to the jurisdiction of this

Court for the purposes of enforcement of this Protective Order.

       6.     Experts who are permitted access to the File are hereby ordered not to

show, convey, or reproduce any documents so designated or any parts thereof, or

copies thereof, or any matters contained therein, or any extracts or summaries

thereof, to any individual, or to any entity that would not otherwise have access to

said documents under the provisions of this Protective Order.

       7.     At the conclusion of this litigation, including any appeal(s), all copies

of the File possessed by the parties, their attorneys, and experts, shall be destroyed.

“Confidential” information provided to the Court or appearing on the Court’s

docket may be subject to a final order of the Court upon the conclusion of the

litigation.

       8.     This Protective Order does not in any way attempt to address the

admissibility of the File in whole or in part under the Federal Rules of Evidence.




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                      IT IS THEREFORE ORDERED that the undersigned counsel for the North

              Carolina State Bureau of Investigation produce a copy of SBI Case No. 2017-01907

              to the Pro Se Plaintiff and counsel for the Defendants as indicated below.


Signed: November 19, 2021




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